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                                                     United States District Court                                              JS-3
                                                     Central District of California


UNITED STATES OF AMERICA vs.                                              Docket No.             CR 15-511(A)-DMG

Defendant     GLOBAL COMPOUNDING, LLC                                     Social Security No. N           O     N     E
      Global Compounding Pharmacy, LLC; Anatomy
                                                                          (Last 4 digits)
akas: RX, LLC

                                       JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                    MONTH   DAY       YEAR
           In the presence of the attorney for the government, the defendant appeared in person on this date.       MAR      13       2019


 COUNSEL                                                           Michael S. Devereux, Retained
                                                                           (Name of Counsel)

     PLEA             GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO             X       NOT
                                                                                                              CONTENDERE                 GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          Conspiracy to Distribute Oxycodone, Hydromorphone, Hydrocodone and Promethazine with Codeine in violation of Title 21
          U.S.C. §§ 846 and 841(a)(1), (b)(1)(C) as charged in Count 1 of the First Superseding Indictment; Conspiracy to Import a
          Schedule III Controlled Substance in violation of Title 21 U.S.C. §§ 963, 952(b), 960(a)(1) as charged in Count 5 of the First
          Superseding Indictment; Importation of a Schedule III Controlled Substance, Causing an Act to be Done in violation of Title
          21 U.S.C. §§ 952(b), 960(a)(1), and 18 U.S.C. § 2(b) as charged in Counts 6-8 of the First Superseding Indictment; Engaging
          in Transactions in Criminally Derived Proceeds, Causing an Act to be Done in violation of Title 18 U.S.C §§ 1957(a), 2(b) as
          charged in Counts 10-18 of the First Superseding Indictment; and Subscribing to a False Tax Return in violation of Title 26
          U.S.C § 7206(1) as charged in Counts 48-50 of the First Superseding Indictment.
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM    that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby placed on
  ORDER   PROBATION for a term of ONE (1) YEAR. This term consists of one year on each of Counts 1, 5 through 8, 10 through
          18, and 48 through 50 of the First Superseding Indictment, all such terms to run CONCURRENTLY.


         Pursuant to 18 U.S.C. § 3013(a)(2)(B), it is ordered that the defendant shall pay to the United States a special assessment of $6,800,
which is due immediately.

         All fines are waived as the Court finds that the defendant is unable to pay and is not likely to become able to pay any fine.

         Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby placed on PROBATION
on Counts 1, 5 through 8, 10 through 18, and 48 through 50 of the First Superseding Indictment for a term of ONE (1) YEAR. This term
consists of one year on each of Counts 1, 5 through 8, 10 through 18, and 48 through 50 of the First Superseding Indictment, all such terms to
run CONCURRENTLY under the following terms and conditions:

         1.   The defendant shall comply with the rules and regulations of the United States Probation Office and General Order 18-10;

         2.   The defendant organization shall not commit another violation of federal, state, or local law or ordinance;

         3.   During the period of community supervision, the defendant shall pay the special assessment in accordance with this judgment’s
              orders pertaining to such payment;

         4.   The defendant organization shall provide the Probation Officer access to any requested financial information;

         5.   Within 30 days from the date of this judgment, the defendant organization shall designate an official of the organization to act as
              the organization’s representative and to be the primary contact with the Probation Officer;

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          6.    The defendant organization shall answer truthfully all inquiries by the Probation Officer and follow the instructions of the
                Probation Officer;

          7.    The defendant organization shall notify the Probation Officer ten days prior to any change in the principal business or mailing
                address or within 72 hours if advance notice is not possible;

          8.    The defendant organization shall permit a Probation Officer to visit the organization at any of its operating business sites;

          9.    The defendant organization shall report to the Probation Officer as directed and shall submit a truthful and complete written report
                within the first five days of each month;

          10. The defendant organization shall be required to notify the Court or Probation Officer immediately upon learning of (1) any
              material change in its business or financial condition or prospects, or (2) the commencement of any bankruptcy proceeding, major
              civil litigation, criminal prosecution or administrative proceeding against the organization, or any investigation or formal inquiry
              by government authorities regarding the organization;

          11. The defendant organization shall notify the Probation Officer immediately of any intent to sell the organization, change the name
              of the organization, merge with another business entity, or otherwise dissolve and/or modify, in any form or manner, the
              organizational structure from its present status;

          12. The defendant shall truthfully and timely file and pay taxes owed for the years of conviction, and shall truthfully and timely file
              and pay taxes during the period of community supervision. Further, the defendant shall show proof to the Probation Officer of
              compliance with this order; and

          13. The defendant and any other entity under California entity number 20110420213 shall not operate a business that requires
              licensing and/or certification by any local, state, or federal agency without the prior written approval of the Probation Officer.

          The Court dismisses all remaining counts of the underlying indictment as to this defendant.

          The Court informs the defendant of its right to appeal.

In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
supervision for a violation occurring during the supervision period.




           March 15, 2019
           Date                                                      Dolly M. Gee, United States District Judge

It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                     Clerk, U.S. District Court




           March 15, 2019                                      By    /s/ Kane Tien
           Filed Date                                                Deputy Clerk




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The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                              STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                              While the defendant is on probation or supervised release pursuant to this judgment:
1.   The defendant must not commit another federal, state, or local          9.     The defendant must not knowingly associate with any persons
     crime;                                                                         engaged in criminal activity and must not knowingly associate with
2.   The defendant must report to the probation office in the federal               any person convicted of a felony unless granted permission to do so
     judicial district of residence within 72 hours of imposition of a              by the probation officer. This condition will not apply to intimate
     sentence of probation or release from imprisonment, unless                     family members, unless the court has completed an individualized
     otherwise directed by the probation officer;                                   review and has determined that the restriction is necessary for
3.   The defendant must report to the probation office as instructed by             protection of the community or rehabilitation;
     the court or probation officer;                                         10.    The defendant must refrain from excessive use of alcohol and must
4.   The defendant must not knowingly leave the judicial district                   not purchase, possess, use, distribute, or administer any narcotic or
     without first receiving the permission of the court or probation               other controlled substance, or any paraphernalia related to such
     officer;                                                                       substances, except as prescribed by a physician;
5.   The defendant must answer truthfully the inquiries of the probation     11.    The defendant must notify the probation officer within 72 hours of
     officer, unless legitimately asserting his or her Fifth Amendment              being arrested or questioned by a law enforcement officer;
     right against self-incrimination as to new criminal conduct;            12.    For felony cases, the defendant must not possess a firearm,
6.   The defendant must reside at a location approved by the probation              ammunition, destructive device, or any other dangerous weapon;
     officer and must notify the probation officer at least 10 days before   13.    The defendant must not act or enter into any agreement with a law
     any anticipated change or within 72 hours of an unanticipated                  enforcement agency to act as an informant or source without the
     change in residence or persons living in defendant’s residence;                permission of the court;
7.   The defendant must permit the probation officer to contact him or       14.    As directed by the probation officer, the defendant must notify
     her at any time at home or elsewhere and must permit confiscation              specific persons and organizations of specific risks posed by the
     of any contraband prohibited by law or the terms of supervision                defendant to those persons and organizations and must permit the
     and observed in plain view by the probation officer;                           probation officer to confirm the defendant’s compliance with such
8.   The defendant must work at a lawful occupation unless excused by               requirement and to make such notifications;
     the probation officer for schooling, training, or other acceptable      15.    The defendant must follow the instructions of the probation officer
     reasons and must notify the probation officer at least ten days                to implement the orders of the court, afford adequate deterrence
     before any change in employment or within 72 hours of an                       from criminal conduct, protect the public from further crimes of the
     unanticipated change;                                                          defendant; and provide the defendant with needed educational or
                                                                                    vocational training, medical care, or other correctional treatment in
                                                                                    the most effective manner.




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     The defendant will also comply with the following special conditions (set forth below).

          STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

          The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be
subject to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not
applicable for offenses completed before April 24, 1996.

         If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

         The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

         The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18
U.S.C. § 3563(a)(7).

          Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                        States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

          CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

         As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply
for any loan or open any line of credit without prior approval of the Probation Officer.

         The defendant must maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
proceeds must be deposited into this account, which must be used for payment of all personal expenses. Records of all other bank accounts,
including any business accounts, must be disclosed to the Probation Officer upon request.

        The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.




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                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
Defendant delivered on                                                                      to
Defendant noted on appeal on
Defendant released on
Mandate issued on
Defendant’s appeal determined on
Defendant delivered on                                                                    to
    at
    the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                    United States Marshal


                                                             By
           Date                                                     Deputy Marshal




                                                                CERTIFICATE

I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
legal custody.
                                                                    Clerk, U.S. District Court


                                                             By
           Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY



Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


          These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



          (Signed)
                      Defendant                                                                  Date




                      U. S. Probation Officer/Designated Witness                                 Date




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